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CIVIL COURT OF THE CITY OF NEW YORK                                       T4391NCOME EXECUTION
COUNTY OF KINGS                                                           INDEX NO. CV-020867-08/KI
Judgment Creditor
Collins Financial Services, Inc.                                          INCOME ExECUTION

Judgment Debtor(sXname and last known address)
Luz Texidor                                                               THE PEOPLE OF THE STATE
                                                                          OF NEW YORK

TO THE ENFORCEMENT OFFICER, GREETING: The Enforcement Officer is the Sheriff, Marshal of the City of New York or Constable
of the town or Village authorized by law to enforce income execution. A judgment was entered in the within court in favor of the Judgment
Creditor(s) and the particulars are as follows:

                                                  ENTRY DATE           JDGMT AMT.              PRIN. BAL.           INTEREST DATE
                                                  05/14/2008           $3877.96                $3877.96             5/14/2008

This Execution is issued against Luz Texldor whose last known address is 483 Lincoln Ave Apt 3F, Brooklyn NY 11208 and whose
social security number is [SSN redacted pursuant to NYS GBL 399-dd] and who is receiving or will receive $354.00 or above for each
weekly pay period from the Employer. "Employer." herein, includes any payor of money to Judgment Debtor. The Employer's name and
address is:

Employer: Bedford Center for Nursing and Rehabilitation
Payroll Address:                                                  New York Address:
40 Heyward Street,                                                40 Heyward Street
Brooklyn, NY 11249                                                Brooklyn, NY 11249
(718) 858-6200                                                    (718) 858-6200
     You are directed to satisfy the judgment with interest together with your fees and expenses, out of all monies now and hereafter due
and owing to the Judgment Debtor from the Employer pursuant to CPLR § 5231. This incom~ execution only applies if the ju9gment debtor
resides and works within the State of New York. If your records reflect that the judgment debtor residence and/or work location are outside
of New York State, this income execution should not be put into effect
Directions to Judgment Debtor: You are notified and commanded within 20 days to start paying to the Enforcement Officer serving a
copy of this Income Execution on you: installments amounting to 10% (but no more than the Federal limits set forth in I. Limitations on the
amount that can be withheld, below) of any and all salary, wages or other Income, including any and all overtime earnings, commissions or
other irregular compensation received or hereafter to be received from your Employer and to continue paying such installments until the
judgment with interest and the fees and expenses of this Income Execution are fully paid and satisfied, and if you fail to do so this Income
Execution will be served upon the Employer by the Enforcement Officer.
Directions to the Employer: You are commanded to withhold and pay over to the Enforcement Officer serving a copy of this Income
Execution on you: Installments amounting to 10% (but no more than the Federal limits set forth in I. Limitations on the amount that can be
withheld., below) of any and all salary, wages or other income, including any and all overtime earnings, commissions or other irregular
compensation now or hereafter becoming due to Judgment Debtor nti h judgme                 terest and the fees and expenses of this Income
Execution are fully paid and satisfied.                                                                                    ·

DATED: October 6, 2020
                                                             tephen ins in              0 Anthony S . Poulin
                                                        0 Joseph J . Cassetta           0 Evridike Kollis
                                                        0 Scott Morris                  0 Stephanie R. Vetch
                                                     Matter#: 285922
                                                     Stephen Einstein & Associates, P.C.
                                                      39 Broadway, Room 1250, New York, NY 10006
IMPORTANT STATEMENT: Tnis Income execution directs the wl>Jtholding Gf up to 10 per~nt of the judgment debtor's gross income.
In certain cases, however, state or federal law does not permit the withholding of that much of the judgment debtor's gross income.
The judgment debtor is referred to New York Civil Practice Law and Rules §5231 and 15 United States Code § 1671 et seq.
I. Limitations on the amount that can be withheld
A. An income execution for installments from a judgment debtor's gross income cannot exceed ten percent (10%) of the judgment debtor's
gross income.
B . If a judgment debtor's weekly disposable earnings are less than thirty (30) times the current federal minimum wage ($7.25 per hour
or $217.50 per week) , or NYS, NYC, Nassau, Suffolk or Westchester minimums (See "Minimum Wage Schedule"), no deduction can be
made from the judgment debtor's earning under this income execution.
                                  ***SEE REVERSE SIDE AND SECOND SHEET***


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  C. A judgment debtor's weekly disposable earnings cannot be reduced below the amount arrived at by multiplying thirty (30) times the
 greater of the current federal minimum wage ($7.25* per hour, or $217.50*), or NYS minimum (See "Minimum Wage Schedule"}, under
                                                                                                              this income execution.

D. If deductions are being made from a judgment debtor's earnings under any orders for alimony, support or maintenance for family
members or former spouses, and those deductions equal or exceed twenty-five percent (25%) of the judgment debtor's disposable earnings,
no deduction can be made from the judgment debtor's earnings under this income execution.

E. If deductions are being made from a judgment debtor's earnings under any orders for alimony, support or maintenance for family
members or former spouses, and those deductions are less than twenty-five (25%) of the judgment debtor's disposable earnings, deductions
may be made from the judgment debtor's earnings under the income execution. However, the amount arrived at by adding the deductions
from earnings made under this execution to the deductions made under any orders for alimony, support or maintenance for family members
or former spouses cannot exceed twenty-five percent (25%) of the judgment debtor's disposable earnings.

NOTE: Nothing in this notice limits the proportion or amount which may be deducted under any order for alimony, support or maintenance
for famHy members or former spouses.
II. Explanation of limitations

Definitions:

Disposable Earnings-Disposable earnings are that part of an individual's earnings left after deducting those amounts that are required by law
to be withheld (for example, taxes, social security and unemployment insurance, but not deductions for union dues, insurance plans, etc.).
Gross Income-Gross income is salary, wages or other income including any and all overtime earnings, commissions and income from trusts
before any deductions are made from such income.
Illustrations regarding earnings:
If disposable earnings is:                                            Amount to pay or deduct from earnings under this income execution is:
(a) less than 30 times the greater of the federal ($217.50*) or state No payment or deduction allowed.
minimum wage ($354.00//$450.00,.. or $390.00-.
or $412.50#/ $450.00") or less.
(b) more than 30 time the greater of the federal ($217.50*) or        The lesser of: The excess over 30 times the greater of the federal
State minimum wage ($($354.00//$450.00...) or {$390.00....)           minimum wage ($217.50•) ot the state minimume wage of ($354 .00
or $412.50#1 $450.00") and less than 40 times the federal             /$450.00") or ($390.00.*"*) or ($41 2.50# I $450.00") in ($290.00*) or
state minimum wage {$472.00/$600.00..)                                disposable earnings, or 10% of gross income.
or {$480.00**") or ($510.00# I $600.00").
(c) 40 times the greater ofthe federal {$290.00*) or state            The lesser of: 25% of disposable earnings or 10% of
minimum wage ($472.001 $600.00"*) or ($520.00.... )                   or more gross income.
or ($550.00# or $600.00").

Ill. Notice: You may be able to challenge this income execution through the procedures provided in CPLR §5231{i) and CPLR §5240.
If you think that the amount of your income being deducted under this income execution exceeds the amount permitted by state or federal
law, you should act promptly because the money will be applied to the judgment. If you claim that the amount of your income being
deducted under this income execution exceeds the amount permitted by state or federal law, you should contact your employer or other
person paying your income. Further, YOU MAY CONSULT AN ATTORNEY, INCLUDING LEGAL AID IF YOU QUALIFY. New York State
law provides two procedures through which an··incOrt\e execution can be challenged:
           CPLR §5230. Pursuant to subdivision, (I) of section fifty-two hundred fiVe of this article, ($2,850.00) Two Thousand Eight Hundred
Fifty Dollars of an account containing direct deposit or electronic payments reasonably identifiable as statutorily exempt payments, as
defined in paragraph two of subdivision (I) of section fifty-two hundred five of this article, is exempt from execution and that the garnishee '
cannot levy upon or restrain ($2,850.00) Two Thousand Eight Hundred Fifty Dollars in such an account. An execution notice shall likewise
state that pursuant to subdivision (i) of section fifty-two hundred twenty-two. of this article, an execution shall not apply to an amount equal to
or less than ninety percent of the greater of two hundred forty times the federal minimum hourly wage prescribed in the Fair Labor Standards
 Act of 1938 or two hundred forty Urnes the state minimum hourly wage prescribed in section six hundred fifty-two of the labor raw as in effect
at the time the earnings are payable, except such part as a court determines ·to be unnecessary for the reasonable requirements of the
judgment debtor and his or her dependents.
           CPLR §5231 (i) Modification. At any time, the judgment debtor may make a motion to a court for an order modiFying an income
execution.
           CPLR §5240 ModificaUon or protective order; supervision of enforcement. At any time, the judgment debtor may make a
motion to a court for an order denying, limiting, conditioning, regulating, extending or modifying the use of any post-judgment enforcement
procedure including tlie tise of income executions
•          Based upon $7 25 federal minimum wage effective Jury 24, 2009.
           Based upon $11 .80 New York State minimum wage; or $15.00 New York City minimum wage for all employees effective
           December 31, 2019.
           Based upon $13.00 minimum wage for employers in Nassau, Suffolk and Westchester counties, effective December 31, 2019.
#          Based upon $13.75 New York State minimum wage for fast food employees effective December 31, 2019.
"          Based upon $15.00 New York State minimum for fast food employees located in New York City effective December 31 , 2019.
                                                         Retum (for Sheriff's or Marshal's use only)
0 Fully satisfied             20        0 Unsatisfied
0 Partially satisfied         20 ,      $
0 Because I was unable to find the Garnishee (the Employer) within my jurisdiction I returned this Income Execution to Judgment Creditor's
 Attorney on               20
Date and time received:                                               0 Marshall, City of ................. ..
                                                                      0 Sheriff, County of .................. .
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                                             Minimum Wage Schedule
                                                 Effective 12/31/19
                       (Use the "greater of' the Federal or applicable New York State Rate)




                                                               Hourly Rate      30x           40x

Federal Minimum Wage                                           $ 7.25          $217.50         $290.00


New York State Minimum Wage Rates:
All Firms with Employees in NY City                            $15.00          $450.00         $600.00
Firms with employees in Nassau, Suffolk, Westchester
Counties                                                       $13.00          $390.00        $520.00
Firms with employees-Remainder of State
    except NY City, Nassau, Suffolk and Westchester            $11.80          $354.00        $472.00


Fast Food Service Industry firms and SUNY
   employees employed outside NYC                              $13.75          $412.50        $550.00



Note: A fast food service industry firm (or fast food establishment) is any business that meets the following
criteria per the Department of Labor:
         I. Primarily serves food or drinks, including coffee shops, juice bars, donut shops, and ice cream
         parlors; and                                    ..      .       '·
         2. Offers limited service, where customers.gr_{k,r and:pay .befor.e eating, including restaurants with tables
        but without full table service, and places that only provide take-out service; and
         3. Is part of a chain of 30 or more locations, including individually owned establishments associated
         with a brand that has 30 or more locations nationally.
